                       IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THr DISTRICT OF ARIZONA

In re:                                            CASE NO.      B- 2~ ~q ~K 2~ `~ d ~' P1~~G~~
         r}'~-~I~S -~1 ~} U 1(~~DY~ ~             CH. 11 POST CONFIRMATION REPORT

                                                     '~ QUAI2~'ERLY                  FINAL
      ~~~ ,~.Z ~a~~~                                         (PLCASE CHECK)

                                                  QUARTER ENDING: t~ ~ ~ ~ ~ t'~-

                           Debtors)         )     DATE PLAN CONFIRMED: ~ l Z~ C~

SUMMARY OF DISBURSEMENTS:

A. Disbursements made under the plan,for current quarter:                       $

B. Disbursements not under the plan, for current quarter:                       $ ,~'.~ I D ~    ~.~

                                        Total Disbursements                     $ ~3 ~ l ~~( ~

         ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR,BE
         THEY UNDER THE PLAN OK OTHERWISE,MUST BE ACCOUNTED FOR
         AND REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE
         QUAKTERLY FEES.

PLEASE ANSWER THE FOLLOWING:

         What are your projections as to your ability to comply with the terms of the plan?




2.       Please describe any factors which may materially affect your ability to obt~►in a find
         decree.

                     //~




3.       If plan payments have not yet begun, please indicate the date that the first plan payment
         is due.

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                            ,~.




     FILE ORIGINAL REPORT ELECTRONICALLY WITH THE COURT, FILE A PAPER COPY WITH U.S. TRUSTEE'S OFFICE
Case 2:09-bk-23468-DPC          Doc 171 Filed 01/21/13 Entered 01/21/13 10:30:10                  Desc
                                 Main Document    Page 1 of 3
 SUMMARY OF AMOUNTS DISTRIBUTED UNDER THE PLAN:

                                                   Current Quarter Paid to Date   I~alance Due
 A. FEES AND EXPENSES:
 1. Disbursing Agent Compensation                  e

 2. Fee for Attorney for 'Trustee
 3. Fee for Attorney for Debtor
 4. Other Professionals
 5. All Expenses,Including Disbursing Agent's      e

 B. DISTRIBUTIONS:
 ~. ~L'ClI2'~~ ~~i'~(~l,tnrg

 7. Priority Creditors
 8. Unsecured Creditors                           $                  $            ~
 9. Equity Secua•ity Holders                      $                 $             $
 10. Other Payments- Specify Class of Payee       $                 $             $
                                                  $                 $             $
                                                  $                 $

  TOTAL PLAN DISBUI2SFMENTS                   $                 $                 $
   (Report Sum of Lines 1 - 10, cccrrent quarter column, nn page 1, A.)

 C. Percent Dividend to be Paid to Unsecured Creditors Under Plan


SUMMARY OF PROPERTY TRA1o1SFEI2RED UNDER THE PLAN:

                                                description of property

 Secured Creditors

Priority Creditors

 Unsecured Creditors

Equity Security Holders

(Jther Transfers- Specify class of Transferee




                                                       2


Case 2:09-bk-23468-DPC         Doc 171 Filed 01/21/13 Entered 01/21/13 10:30:10         Desc
                                Main Document    Page 2 of 3
CONSUMMATION OF PLAN:


      If this is a final report, has an application for Final Decree been submitted?

               Yes Date application was submitted?

              No    Date when application will be submitted

      Estimated Date of final Payment Under Plan




      I CERTIFY UNDER PENALTY OF PERJURY THAT THE ABOVE INFORMATION IS
      TRUE AND CORRECT TO 'THE BEST OF MY KNOWLEDGE.




                          1

      SIGNED:             ~             ~--~``~~'~        ~ ~~         DATE: ~~ /~~
                                                     ~~


                           (PRINT NAME)




Case 2:09-bk-23468-DPC        Doc 171 Filed 01/21/13 Entered 01/21/13 10:30:10         Desc
                               Main Document    Page 3 of 3
